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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

                         Civil Action No.: 8:18-cv-00340-VMC-TGW

                                                  :
Kristin Huff, on behalf of herself and all others :
similarly situated,                               :
                                                  :
                                                  :
                      Plaintiff,                  :
        v.                                        :
                                                  :                                                (
Convergent Outsourcing, Inc.,                     :                                                D
                                                  :                                                R
                                                  :                                                H
                      Defendant.                  :

                                 NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a Notice of Withdrawal of Complaint and Voluntary

Dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: November 16, 2018

                                                  Respectfully submitted,

                                                  PLAINTIFF, Kristin Huff

                                                  By: _/s/ Tamra Givens _________
                                                    Tamra Givens, Esq.
                                                    LEMBERG LAW, L.L.C.
                                                    43 Danbury Road, 3rd Floor
                                                    Wilton, CT 06897
                                                    Telephone: (203) 653-2250
                                                    Facsimile: (203) 653-3424
                                                    Attorneys for Plaintiff
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                              CERTIFICATE OF SERVICE

       I hereby certify that on November 16, 2018, a true and correct copy of the foregoing
Notice of Settlement was served electronically by the U.S. District Court Middle District of
Florida Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                           By_/s/ Tamra Givens_________

                                                  Tamra Givens
